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IN THE UNITED STATES DISTRlCT OURT UCT l 20
FOR THE NORTHERN DiS'i`RlC'l` OF EXAS 8 H
FORT W()RTH DIVISION

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Deputy

 

UNITED STATES OF AMERICA

VS. CRIMINAL NO. 4:17-CR-l74~Y

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STEVIE LEIGH SOULE (l)

REPORT OI*` ACTION AND REC()MMENDATION ON PLEA
BEFORE THE UNITEI) STATES MAGISTRATE JUDGE

'l`his Report oontion on Plea is submitted to the court pursuant to 28 U.S.C. § 636(b)(3).
This case has been referred by the United States district judge to the undersigned for the taking of
a guilty plea. "l`he parties have consented to appear before a United States magistrate judge for
these purposes
'l`he defendant appeared With counsel before the undersigned United States magistrate
judge who addressed the defendant personally in open court and informed the defendant of, and
determined that the defendant understood, the admonitions contained in Rule ll of the Federal
Rules of Crirninal Procedure.
The defendant pled guilty to count one of the one"count information charging defendant
With the violation of 18 U.S.C. § 846 (Zl U.S.C. §§ 84l(a)(l) and (b)(l)(C)). The undersigned

magistrate judge funds the following:

l. 'l`he defendant, upon advice of counscl, has consented orally and in Writing to
enter this guilty plea before a magistrate judge subject to final approved and

sentencing by the presiding district judge;
2. The defendant fully understands the nature of the charges and penalties;

3. The defendant understands all constitutional and statutory rights and Wishes to
Waive these rights, including the right to a trial by jury and the right to appear

before a United States district judge;

  

  

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Before the United States Magistrate Judge
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4. 'l`he defendant’s plea is made freely and voluntarily;

5. "l`he defendant is competent to enter this plea of guilty;

6. T here is a factual basis for this plea', and

7. The ends ofjustice are served by acceptance of the defendant’s plea of guilty.

Although l have conducted these proceedings, accepted the defendant’s plea of guilty, and
pronounced the defendant guilty in open court, upon the defendant’s consent and the referral from
the United States district judge, that judge has the power to review my actions in this proceeding
and possesses final decision making authority Thus, if the defendant has any objections to the
findings or any other action of the undersigned he should make those known to the United States
district judge within fourteen days of today.

I recommend that defendant’ s plea ot`guiity be accepted and that the defendant be adjudged

guilty by the United States district judge and that sentence be imposed accordingly

JEFF MUZ;W

UNITED ATES MAGISTRATE JUDGE

Signed October 18, 2017.

 

cb

